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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                            :
                                                    :
                                                    :
                v.                                  : CASE NO. 21-CR-626 (PLF)
                                                    :
DEREK COOPER GUNBY,                                 :
                                                    :
                       Defendants.                  :
                                                    :



    JOINT STATUS REPORT CONCERNING ORAL ARGUMENT ON MOTIONS

       The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, and defendant Derek Cooper Gunby, by and through his attorney, John

Pierce, Esq., now submit this joint status report in response to the Court’s request for guidance

regarding which of the four pending non-evidentiary pretrial motions require oral argument.

       The government and defense counsel have conferred, and neither party requests oral

argument on any of the four pre-trial motions. The Court may decide the motions on the papers.

                                             Respectfully submitted,

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                                             D.C. Bar No. 481052

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